Case 0:24-cv-60591-MD Document 27-5 Entered on FLSD Docket 06/26/2024 Page 1 of 10
Case 0:24-cv-60591-MD Document 27-5 Entered on FLSD Docket 06/26/2024 Page 2 of 10
Case 0:24-cv-60591-MD Document 27-5 Entered on FLSD Docket 06/26/2024 Page 3 of 10
Case 0:24-cv-60591-MD Document 27-5 Entered on FLSD Docket 06/26/2024 Page 4 of 10
Case 0:24-cv-60591-MD Document 27-5 Entered on FLSD Docket 06/26/2024 Page 5 of 10
Case 0:24-cv-60591-MD Document 27-5 Entered on FLSD Docket 06/26/2024 Page 6 of 10
Case 0:24-cv-60591-MD Document 27-5 Entered on FLSD Docket 06/26/2024 Page 7 of 10
Case 0:24-cv-60591-MD Document 27-5 Entered on FLSD Docket 06/26/2024 Page 8 of 10




                             Exhibit A
Case 0:24-cv-60591-MD Document 27-5 Entered on FLSD Docket 06/26/2024 Page 9 of 10
Case 0:24-cv-60591-MD Document 27-5 Entered on FLSD Docket 06/26/2024 Page 10 of 10
